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| |} 1, YOEL NEMAN, declare:
2 || 1. Lam over 18 years of age and have personal knowledge of each fact stated in this
3 declaration, If called upon to testify thereto as a witness, I can and will testify.
4 |} 2. Uhave been working in the fashion industry involving fabrics, designs printed on the
fabrics, and garments for over 30 years, and I am the duly authorized custodian of
6 the business records, including the exhibits attached hereto. I have the personal
7 knowledge as to the manner of creation and maintenance of such business records. |
8 hereby certify that the exhibits attached hereto have been created and maintained in
9 Plaintiff's regular course of business, were made at or near the time of the act,
10 condition or event recorded therein, and therefore, are true and genuine.

 

11 || 3: [do apologize there was a confusion because my previous declaration stated my title
as the president of Plaintiff NEMAN BROTHERS & ASSOC., INC, (“PlaintifY” or

 
  
 
 

12
13 “Neman Brothers”). To be accurate, my title is the administrator, However, as |
14 explained at the deposition, the job duties and the knowledges thereupon, stated in
15 my previous declaration, are correct as | am in charge of the matters related to
5 production and deigns,
7 4. Atthe deposition, I misstated based on my misunderstanding that our designer
‘i Adrineh did not create NB170268, After the deposition, | personally talked to
Adrineh and confirmed she created it, which | understand she would discuss in
. details in her own declaration.
21
2 Under penalty of perjury under the laws of the State of California, I declare that the foregoing
~~ IV is true and correct.
23
>4 {| Dated: November 15, 2021 Respecifully submitted by,
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26 Eee Mem eS
“ oel Neman
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DECLARATION OF YORL NEMAN

 

 

 

 

 
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7

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

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12 ||| NEMAN BROTHERS & ASSOC.,
13 ||| INC., a California Corporation;

14 Plaintiff/Counter-Defendant,
VS.
INTERFOCUS, INC., a California

Corporation, et al.,
18 Defendant/Counter-Claimant

 

 

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DECLARATION OF YOEL NEMAN

 

 

 

 

DECLARATION OF YOEL NEMAN

 

 
